
PER CURIAM.
The state appeals from an order suppressing evidence in a probation violation proceeding. We reject the state’s contention that the exclusionary rule does not apply to probation violation hearings. State v. Cross, 487 So.2d 1056 (Fla.1986). We reverse the order suppressing the evidence, however, because the unrebutted evidence before the trial court established that the search of the bag was accomplished with defendant Perez’s consent. Schneckloth v. Bustamonte, 412 U.S. 218, 93 S.Ct. 2041, 36 L.Ed.2d 854 (1973); Burke v. State, 465 So.2d 1337 (Fla. 5th DCA 1985).
Reversed and remanded.
